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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


 IN THE MATTER OF THE SEARCH OF                    TO BE FILED UNDER SEAL
INFORMATION ASSOCIATED WITH
(1)FACEBOOK USER ID 1132805002;                    APPLICATION FOR A
AND(2)FACEBOOK USER ID                            SEARCH WARRANT FOR
 100011740475726, THAT IS STORED AT               INFORMATION IN
PREMISES CONTROLLED BY                            POSSESSION OF A PROVIDER
 FACEBOOK INC.                                    (FACEBOOK ACCOUNTS)

                                                   Case No. 19-1141M




                               AFFIDAVIT IN SUPPORT OF
                    AN APPLICATION FOR A SEARCH WARRANT


               I, Joshua Croft, being first duly sworn, hereby depose and state as follows:


                     INTRODUCTION AND AGENT BACKGROUND


       1.      I make this affidavit in support of an application for a search warrant for

information associated with certain Facebook user IDs that are stored at premises owned,

maintained, controlled or operated by Facebook Inc.("Facebook"), a social networking company

headquartered in Menlo Park, California. The information to be searched is described in the

following paragraphs and in Attachment A. This affidavit is made in support of an application

for a search warrant under 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A) to require

Facebook to disclose to the government records and other information in its possession,

pertaining to the subscriber(s) or customer(s) associated with the user IDs.

       2.      I am a Special Agent with the Department of Homeland Security, Homeland

Security Investigations ("HSI"), and have been since December 2016. I am currently assigned to

the Child Exploitation Investigations Unit. During my tenure with HSI,I have participated in
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investigations targeting individuals involved in the receipt, distribution and possession of child

pornography and have conducted physical and electronic surveillance, executed search warrants,

reviewed and analyzed electronic devices, and interviewed witnesses. As part of my

employment with HSI,I successfully completed the Federal Law Enforcement Training Center's

Criminal Investigator Training Program and Immigration,and Customs Enforcement Special

Agent Training, both of which included instruction with respect to the application for, and

execution of, search and arrest warrants, as well as the application for criminal complaints, and

other legal processes.

       3.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.

       4.      Based on my training and experience and the facts as set forth in this affidavit,

there is probable cause to believe that violations of 18 U.S.C. §§ 2251 (sexual exploitation of

children), 2252 and 2252A (activities relating to material constituting or containing child

pornography), and/or 2423 (travel with intent to engage in illicit sexual conduct)(collectively,

the "SUBJECT OFFENSES")have been committed by TOM BLAHA. There is also probable

cause to search the information described in Attachment A for evidence of these crimes and

contraband or fruits of these crimes, as described in Attachment B.

                                      PROBABLE CAUSE


       5.      In or about November 2019, HSI received information from the National Center

for Missing and Exploited Children("NCMEC")indicating that a Facebook account belonging

to an individual named TOM BLAHA("BLAHA")had communicated with another Facebook
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account belonging to an apparent minor located in the Philippines(the "Victim"), and that such

communications reflected the apparent enticement of a minor to engage in sexual activity, travel

from the United States to the Philippines to engage in sexual activity with a minor, and the

creation and sale of child pornography. The information received from the NCMEC included

details relating to the accounts such as user name,ID number, e-mail address and IP addresses

used to access the Facebook accounts.


       6.      The account belonging to BLAHA has the unique user ID "1132805002"(the

"BLAHA ACCOUNT"). The information received from the NCMEC indicates that the BLAHA

ACCOUNT connected to the Internet from different locations within Long Island, New York on

October 8, 2019 and October 9, 2019. The BLAHA ACCOUNT also connected to the Internet

from Manila, Philippines on or about October 17, 2019. The BLAHA ACCOUNT is registered

to an individual with a given usemame of"Tom Blaha," a date of birth of April 1,1956, and an

e-mail address oftom_blaha@msn.com.

       7.      The account belonging to the apparent minor located in the Philippines has the

unique user ID "100011740475726"(the "Victim Account"). The information received from the

NCMEC indicates that the Victim Account connected to the Internet from Manila, Philippines on

November 25, 2019. The Victim Account is registered to an individual with a date of birth of

May 5, 1999. However, based on the facts described below, there is reason to believe that the

Victim is a minor.


       8.      Based on messages exchanged between the accounts, which the NCMEC received

and then forwarded to HSI,it appears that BLAHA and the Victim had met in person and

engaged in sexual activity at least once before September 20,2019, in exchange for money. For

example,on September 20,2019,BLAHA called the Victim his "girlfriend" and said she was the
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"World[']s best kisser." The Victim responded that she "got[her] money baby thank you so

much," and BLAHA wrote back,"Your welcome my lover."

       9.     On or about September 23,2019, BLAHA and the Victim discussed the Victim

creating sexually explicit videos to send to BLAHA in exchange for money. Specifically, the

Victim wrote,"My sister has offer on me she said you want me to make 3 video[s] with vibrator.

I agree with her but can you make 30k for that it[']s [hard] for me." BLAHA wrote back,"Ok

my love ... Make me happy." Based on my training and experience,I believe the reference to

"30k" means 30,000 Philippine pesos, which are worth approximately $600.

       10.    BLAHA appears to have traveled to the Philippines on or about October 17, 2019

to meet the Victim and engage in sexual activity. For example, on or about October 4,2019,

BLAHA wrote to the Victim that he loved and missed her, that he would see her in two weeks,

and that he "want[s] to pet it." Then, on or about October 17, 2019, the following exchange

occurred:'

       Victim Account:                      hi baby is it ok if we resdule our meeting
                                            tomorrow because im busy on 19 to my school???

       BLAHA ACCOUNT:                       Can you send me a few mirror pictures in
                                            underwear?


       BLAHA ACCOUNT:                       Babe, 130,000 pesos without fuck or 200,000
                                            pesos with fuck??



       Victim Account:                      200 pesos can do everything baby but no sex baby
                                            pis in not ready yet...




             'Verbatim exchanges described herein are comprised of excerpts from a longer
message thread. Gaps between excerpts are denoted with ellipses.
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       BLAHA ACCOUNT:                         So you choose 130,000 pesos, eveiything but
                                              fuck, that's fine




       BLAHA ACCOUNT:                         See you later lover!I Shave your pussy, ok?

        11.    BLAHA appears to have left the Philippines the next day, and wrote to the Victim

that he would come back in January. He also referred to sending money to the bank account of

the Victim's sister for the benefit of the Victim, which may indicate that the Victim is not old

enough to have her own bank account. Specifically, on or about October 18,2019, the following

exchange occurred:

       BLAHA ACCOUNT:                         I promise to think of you everyday till I come
                                              back in January

       Victim Account:                        me too baby and thank you a lot

       Victim Account:                        baby when did i got my money hope you dont
                                              mind i need for my mom...

       BLAHA Account:                         I can send to your sisters bank like last time, takes
                                              a few days for international processing

       12.     Based on information and belief, the Victim is under the age of 18. On or about

December 2,2019, HSl agents reviewed the Victim Account, which is publicly accessible and

contains a large number of photographs of a young female who is the apparent owner ofthe

account-i^,the Victim. Based on the physical appearance ofthe individual depicted in those

photos, the Victim is well under the age of 18 and may be as young as 13 or 14. Furthermore, in

certain of the photos, the Victim is wearing a school uniform that appears to be consistent with

those often wom by students in middle school or high school.

        13.     On or about December 5, 2019, HSI agents reviewed publicly accessible video

clips posted by the Victim on Facebook and other social media platforms, showing the Victim in
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classrooms or other school settings. In those videos, there are many children that appear to be

between approximately 6 and 13 years of age. Both the Victim and those children are wearing

similar uniforms in the videos.


       14.     Facebook owns and operates a free-access social networking website of the same

name that can be accessed at http://www.facebook.com. Facebook allows its users to establish

accounts with Facebook, and users can then use their accounts to share written news,

photographs, videos and other information with other Facebook users, and sometimes with the

general public.

       15.     Facebook asks users to provide basic contact and personal identifying information

to Facebook, either during the registration process or thereafter. This information may include

the user's full name, birth date, gender, contact e-mail addresses, Facebook passwords, Facebook

security questions and answers (for password retrieval), physical address (including city, state

and zip code), telephone numbers, screen names, websites and other personal identifiers.

Facebook also assigns a user identification number to each account.

       16.     Facebook users may join one or more groups or networks to connect and interact

with other users who are members of the same group or network. Facebook assigns a group

identification number to each group. A Facebook user can also connect directly with individual

Facebook users by sending each user a "Friend Request." Ifthe recipient of a "Friend Request"

accepts the request, then the two users will become "Friends" for purposes of Facebook and can

exchange communications or view information about each other. Each Facebook user's account

includes a list ofthat user's "Friends" and a "News Feed," which highlights information about

the user's "Friends," such as profile changes, upcoming events and birthdays.
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        17.    Facebook users can select different levels of privacy for the communications and

information associated with their Facebook accounts. By adjusting these privacy settings, a

Facebook user can make information available only to himself or herself, to particular Facebook

users, or to anyone with access to the Intemet, including people who are not Facebook users. A

Facebook user can also create "lists" of Facebook friends to facilitate the application ofthese

privacy settings. Facebook accounts also include other account settings that users can adjust to

control,for example,the types of notifications they receive from Facebook. In my training and

experience, suspects in child exploitation cases sometimes adjust their Facebook privacy settings

to conceal incriminating information from law enforcement.

        18.    Facebook users can create profiles that include photographs, lists of personal

interests, and other information. Facebook users can also post "status" updates about their

whereabouts and actions, as well as links to videos, photographs, articles and other items

available elsewhere on the Intemet. Facebook users can also post information about upcoming

"events," such as social occasions, by listing the event's time, location, host and guest list. In

addition, Facebook users can "check in" to particular locations or add their geographic locations

to their Facebook posts, thereby revealing their geographic locations at particular dates and

times. A particular user's profile page also includes a "Wall," which is a space where the user

and his or her "Friends" can post messages, attachments and links that will typically be visible to

anyone who can view the user's profile.

        19.    Facebook allows users to upload photos and videos, which may include any

metadata such as location that the user transmitted when s/he uploaded the photo or video. It

also provides users the ability to "tag"(i.e., label) other Facebook users in a photo or video.

When a user is tagged in a photo or video, he or she receives a notification ofthe tag and a link
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to see the photo or video. For Facebook's purposes, the photos and videos associated with a

user's account will include all photos and videos uploaded by that user that have not been

deleted, as well as all photos and videos uploaded by any user that have that user tagged in them.

       20.     Facebook users can exchange private messages on Facebook with other users.

These messages, which are similar to e-mail messages, are sent to the recipient's "Inbox" on

Facebook, which also stores copies of messages sent by the recipient, as well as other

information. Facebook users can also post comments on the Facebook profiles of other users or

on their own profiles; such comments are typically associated with a specific posting or item on

the profile. In addition, Facebook has a Chat feature that allows users to send and receive instant

messages through Facebook. These chat communications are stored in the chat history for the

account. Facebook also has a Video Calling feature, and although Facebook does not record the

calls themselves, it does keep records ofthe date of each call.

       21.     If a Facebook user does not want to interact with another user on Facebook,the

first user can "block" the second user from seeing his or her accoimt.

       22.     Facebook has a "like" feature that allows users to give positive feedback or

connect to particular pages. Facebook users can "like" Facebook posts or updates, as well as

webpages or content on third-party (i.e., non-Facebook) websites. Facebook users can also

become "fans" of particular Facebook pages.

       23.     Facebook has a search function that enables its users to search Facebook for

keywords, usemames, or pages, among other things.

       24.     Each Facebook account has an activity log, which is a list of the user's posts and

other Facebook activities from the inception of the account to the present. The activity log

includes stories and photos that the user has been tagged in, as well as connections made through
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the account, such as "liking" a Facebook page or adding someone as a friend. The activity log is

visible to the user but cannot be viewed by people who visit the user's Facebook page.

       25.     Users may access Facebook on different types of digital devices, such as mobile

phones or tablet computers. When a user accesses Facebook on the same digital device using

more than one unique user ID, it is possible for Facebook to link all of the accounts associated

with those user IDs by "machine cookie ID." In other words, Facebook is able to identify

discrete sets of unique accounts that have all accessed Facebook using the same digital device.

Based on my training and experience, individuals who use social media such as Facebook to

engage in the solicitation of child pornography or other child exploitative activity typically use

multiple accounts to avoid detection by law enforcement. Therefore, information associated with

presently unknown Facebook accounts, which are linked by machine cookie ID to known

Facebook accounts suspected of being involved in child exploitative activity, can itself contain

evidence of such conduct.


       26.     The Facebook Gifts feature allows users to send virtual "gifts" to their friends that

appear as icons on the recipient's profile page. Gifts cost money to purchase, and a personalized

message can be attached to each gift. Facebook users can also send each other "pokes," which

are free and simply result in a notification to the recipient that he or she has been "poked" by the

sender. A poke by one user to another is typically indicative ofsome sort of social relationship

between the two users.


       27.     In addition to the applications described above, Facebook also provides its users

with access to thousands of other applications("apps")on the Facebook platform. When a

Facebook user accesses or uses one of these applications, an update about the user's access or

use ofthat application may appear on the user's profile page. Based on my training and
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experience in child exploitation investigations, suspects sometimes use Facebook apps, which

sometimes themselves have internal messaging capability, to communicate with and solicit

underage individuals.

       28.     Facebook uses the term "Neoprint" to describe an expanded view of a given user

profile. The "Neoprint" for a given user can include the following information from the user's

profile: profile contact information; News Feed information; status updates; links to videos,

photographs, articles and other items; Wall postings; friend lists, including the friends' Facebook

user identification numbers; groups and networks of which the user is a member, including the

groups' Facebook group identification numbers; future and past event postings; rejected "Friend"

requests; comments; gifts; pokes; tags; and information about the user's access and use of

Facebook applications.

       29.     Facebook also retains Internet Protocol ("IP")logs for a given user ID or IP

address. These logs may contain information about the actions taken by the user ID or IP

address on Facebook,including information about the type of action, the date and time ofthe

action, and the user ID and IP address associated with the action. For example, if a user views a

Facebook profile, that user's IP log would reflect the fact that the user viewed the profile, and

would show when and from what IP address the user did so.

       30.     Social networking providers like Facebook typically retain additional information

about their users' accounts, such as information about the length of service (including start date),

the types of service used, and the means and source of any payments associated with the service

(including any credit card or bank account number). In some cases, Facebook users may

communicate directly with Facebook about issues relating to their accounts, such as technical

problems, billing inquiries or complaints from other users. Social networking providers like
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Facebook typically retain records about such communications, including records of contacts

between the user and the provider's support services, as well as records of any actions taken by

the provider or user as a result ofthe communications.

       31.     As explained herein, information stored in connection with a Facebook account

may provide crucial evidence ofthe "who,what, why, when, where and how" of the criminal

conduct under investigation, thus enabling the United States to establish and prove each element

or alternatively, to exclude the innocent from further suspicion. In my training and experience, a

Facebook user's "Neoprint," IP log, stored electronic communications, and other data retained

by Facebook, can indicate who has used or controlled the Facebook account. This "user

attribution" evidence is analogous to the search for "indicia of occupancy" while executing a

search warrant at a residence. For example, profile contact information, private messaging logs,

status updates, and tagged photos(and the data associated with the foregoing, such as date and

time) may be evidence of who used or controlled the Facebook account at a relevant time.

Further, Facebook account activity can show how and when the account was accessed or used.

For example, as described herein, Facebook logs the IP addresses from which users access their

accounts along with the time and date. By determining the physical location associated with the

logged IP addresses, investigators can understand the chronological and geographic context of

the account access and use relating to the crime under investigation. Such information allows

investigators to understand the geographic and chronological context of Facebook access, use,

and events relating to the crime under investigation. Additionally, Facebook builds geo-location

into some of its services. Geo-location allows, for example, users to "tag" their location in posts

and Facebook "friends" to locate each other. This geographic and timeline information may tend

to either inculpate or exculpate the Facebook account owner. Last, Facebook account activity

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may provide relevant insight into the Facebook account owner's state of mind as it relates to the

offense under investigation. For example,information on the Facebook account may indicate the

owner's motive and intent to commit a crime (e.g.. information indicating a plan to commit a

crime), or consciousness of guilt (e.g.. deleting account information in an effort to conceal

evidence from law enforcement).

       32.     Therefore, the computers of Facebook are likely to contain all the material

described above, including stored electronic communications and information concerning

subscribers and their use of Facebook, such as account access information, transaction

information and other account information.

          INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

       33.     I anticipate executing this warrant under the Electronic Communications Privacy

Act,in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A), by using the warrant

to require Facebook to disclose to the government copies ofthe records and other information

(including the content of conununications) particularly described in Section I of Attachment B.

Upon receipt of the information described in Section I of Attachment B,government-authorized

persons will review that information to locate the items described in Section II of Attachment B.

                                         CONCLUSION


       34.     Based on the forgoing, there is probable cause to believe that within the

BLAHA ACCOUNT and the Victim Account, there exists evidence of violations ofthe

SUBJECT OFFENSES. Accordingly, a search warrant for the BLAHA ACCOUNT and the

Victim Account is requested.

       35.     This Court has jurisdiction to issue the requested warrant because it is "a court of

competentjurisdiction" as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a),(b)(1)(A)&
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(c)(1)(A), Specifically, the Court is "a district court of the United States ...that- has

jurisdiction over the offense being investigated." 18 U.S.C. § 271 l(3)(A)(i).

       36.     Pursuant to 18 U.S.C. § 2703(g), the presence ofa law enforcement officer is not

required for the service or execution of this warrant.

                                  REQUEST FOR SEALING


       37.     I further request that the Court order that all papers in support ofthis application,

including the affidavit and search warrant, be sealed until further order of the Court. These

documents discuss an ongoing criminal investigation that is neither public nor known to all of

the targets of the investigation. Accordingly, there is good cause to seal these documents

because their premature disclosure may seriously jeopardize that investigation.

                                                   Respectfully submitted.



                                                              CROFT
                                                   Special Agent
                                                   Homeland Security Investigations


Subscribed and sworn to before me on December 6,2019




HONORABLE SANKET J. BULSARA
UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK




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                                    ATTACHMENT A


                                 Property to Be Searched

              This warrant applies to information associated with(1)the Facebook account

associated with user ID "1132805002"; and(2)the Facebook account associated with user

ID "100011740475726," that is stored at premises owned, maintained, controlled or operated

by Facebook Inc.("Facebook"), a social networking company headquartered in Menlo Park,

California. For the avoidance of doubt, the property to be searched includes information

associated with any and all accounts linked to user ID "1132805002" by machine cookie ID.
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                                       ATTACHMENT B


                                 Particular Things to Be Seized

I.     Information to Be Disclosed by Facebook

               To the extent that the information described in Attachment A is within the


possession, custody, or control of Facebook Inc.("Facebook"), including any messages, records,

files, logs, or information that have been deleted but are still available to Facebook, or have been

preserved pursuant to a request made under 18 U.S.C. § 2703(f), Facebook is required to disclose

the following information to the government for each user ID (or any accounts linked to user ID

"1132805002" by machine cookie ID)listed in Attachment A:

       (a)     All contact and personal identifying information,including fiill name, user

               identification number, birth date, gender, contact e-mail addresses, Facebook

               passwords, Facebook security questions and answers, physical address(including

               city, state, and zip code), telephone numbers, screen names, websites, and other

               personal identifiers.

       (b)     All photos and videos uploaded by that user ID and all photos and videos

               uploaded by any user that have that user tagged in them (including, to the extent

               available, all such photos and videos as originally uploaded, including EXIF

               data);

       (c)     All profile information; News Feed information; status updates; links to videos,

               photographs, articles, and other items; Wall postings; friend lists, including the

               friends' Facebook user identification numbers; groups and networks of which the

               user is a member,including the groups' Facebook group identification numbers;
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          future and past event postings; rejected "Friend" requests; comments; gifts; pokes;

          tags; and information about the user's access and use of Facebook applications;

    (d)   All other records of communications and messages made by, received by or

          associated with the user, including all private messages, chat liistory, video calling

          history, and pending "Friend" requests;

    (e)   All "check ins" and other location information;

    (f)   All IP logs, including all records ofthe IP addresses that logged into the account;

    (g)   All records ofthe account's usage of the "Like" feature, including all Facebook

          posts and all non-Facebook webpages and content that the user has "liked";

    (h)   All past and present lists offriends created by the account;

    (i)   All records of Facebook searches performed by the account;

    (j)   The types of service used by the user;

    (k)   The length of service (including start date) and the means and source of any

          payments associated with the service (including any credit card or bank account

          number);

    (1)   All privacy settings and other account settings, including privacy settings for

          individual Facebook posts and activities, and all records showing which Facebook

          users have been blocked by the account; and

    (m)   All records pertaining to communications between Facebook and any person

          regarding the user or the user's Facebook account,including contacts with support

          services and records of actions taken.
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II.    Information to Be Seized by the Government

               All information described above in Section I that constitutes fruits, evidence and

instrumentalities of violations of 18 U.S.C. §§ 2251 (sexual exploitation of children), 2252 and

2252A (activities relating to material constituting or containing child pornography), and/or

2423 (travel with intent to engage in illicit sexual conduct)(collectively, the "SUBJECT

OFFENSES")involving TOM BLAHA since January 1, 2019 to the present, including, for each

user ID identified on Attachment A,information pertaining to the following matters:

          (a) The travel of any person into the United States or from the United States to a

              foreign country with the purpose of engaging in illicit sexual conduct, including,

              but not limited to, sexual conduct with an individual under the age of 18;

          (b) The production, distribution, receipt or possession of child pornography;

          (c) The persuasion,inducement, enticement or coercion of an individual under the

              age of 18 to engage in any sexually explicit conduct for the purpose of producing

              any visual depiction of such conduct or for the purpose oftransmitting a live

               visual depiction ofsuch conduct;

          (d) Evidence indicating how and when the Facebook account was accessed or used,

              to determine the chronological and geographic context of account access, use, and

               events relating to the SUBJECT OFFENSES under investigation and to the

               Facebook account owner;

          (e) Evidence indicating the Facebook account owner's state of mind as it relates to

               the crime under investigation; and

           (f) The identity ofthe person(s) who created or used the user ID,including records

               that help reveal the whereabouts of such person(s).
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                 CERTIFICATE OF AUTHENTICITY OF DOMESTIC BUSINESS
                RECORDS PURSUANT TO FEDERAL RULE OF EVIDENCE 902(11)



           I,     ■                                       ,attest, under penalties of perjury under the

laws ofthe United States of America pursuant to 28 U.S.C. § 1746, that the information

contained in this declaration is true and correct. I am employed by Facebook, and my official

title is                                          . I am a custodian ofrecords for Facebook. I state

that each of the records attached hereto is the original record or a true duplicate of the original

record in the custody ofFacebook, and that I am the custodian ofthe attached records consisting

of                    (pages/CDs/kilobytes). I further state that:


a.         all records attached to this certificate were made at or near the time of the occurrence of

the matter set forth, by, or from information transmitted by, a person with knowledge ofthose

matters;



b.         such records were kept in the ordinary course of a regularly conducted business activity

of Facebook; and


c.         such records were made by Facebook as a regular practice.


           I further state that this certification is intended to satisfy Rule 902(11) of the Federal

Rules ofEvidence.




 Date                                       Signature
